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                              UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION


 GARY WASHINGTON,

          Plaintiff,                                                    Civil Action No.
                                                                   3:20-cv-04056-MGL-SVH
 V.

 CONTINENTAL TIRE THE AMERICAS, LLC,

          Defendant.

                               SECOND AMENDED COMPLAINT

         COMES NOW Plaintiff, Gary Washington (“Mr. Washington” or “Plaintiff”), and hereby

files this Second Amended Complaint for Damages against Continental Tire the Americas, LLC

(“CTA” or “Defendant”), stating as follows:

                                 I. JURISDICTION AND VENUE

      1. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 over Count One

         of this Complaint, which arises under the Family and Medical Leave Act, 29 U.S.C. § 2601,

         et seq. (FMLA).

      2. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 over Count Two

         of this Complaint, which arises under the Age Discrimination in Employment Act of 1967,

         29 U.S.C. § 621, et seq. (ADEA).

      3. This Court has jurisdiction over the parties of this action because the employment practices

         described herein were committed within Sumter County, South Carolina.

      4. Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

      5. Plaintiff received his Notice of Right to Sue from the Equal Employment and Opportunity

         Commission (EEOC) and files this Complaint within the ninety (90) days prescribed.

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   Exhibit 1.

                                       II. PARTIES

6. Plaintiff is a citizen of the United States and a resident of South Carolina.

7. Defendant is a corporation registered to conduct business in the State of South Carolina.

8. Defendant may be served by delivering a copy of the Complaint and Summons to its

   registered agent, CT Corporation System, located at 2 Office Park Ct, Ste 103, Columbia,

   SC 29223.

9. Defendant employed fifty (50) employees or more within 75 miles at all times relevant to

   this lawsuit.

10. Defendant is subject to the requirements of the ADEA and FMLA.

                            III. FACTUAL ALLEGATIONS

11. Mr. Washington began working for Defendant as a certified Tire Build Operator at

   Defendant’s manufacturing plant in Sumter, SC (Sumter Plant) in July 2017.

12. Mr. Washington worked as a Tire Build Operator for the duration of his employment with

   Defendant.

13. Mr. Washington’s performance reviews were satisfactory.

14. Prior to his termination, Mr. Washington did not receive any disciplinary actions with

   Defendant.

15. On April 3, 2019, Mr. Washington notified his supervisor, Mr. John Stein, that his mother

   had been admitted to the ICU and was near death.

16. Mr. Washington asked Mr. Stein for permission to go on a leave of absence to care for his

   mother.

17. Mr. Stein agreed and asked Mr. Washington to keep him updated.



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18. Mr. Stein did not inform Mr. Washington that he could apply for FMLA leave.

19. Mr. Washington worked over 1,250 hours during the 12 months preceding the leave request

   he made to Mr. Stein.

20. On April 10, Mr. Washington’s mother passed away.

21. On April 12, Mr. Washington notified Mr. Stein and his second level supervisor, Mr. Oscar

   Boyle, of her death. Mr. Boyle responded by text message, “Sorry to hear this news just as

   soon as y’all make plans just let me know and we can go from there.”

22. After speaking with Mr. Boyle, Mr. Washington left several messages with Mr. Stein but

   did not receive a response.

23. At no point did Mr. Stein, Mr. Boyle, or anyone else with Defendant tell Mr. Washington

   to contact Defendant’s Human Resources (HR) department regarding his leave of absence.

24. On April 19, Mr. Washington contacted Mr. Boyle by text message and said he would like

   to return on April 23.

25. Later that day, an HR representative called Mr. Washington and told him that Mr. Clayton

   Turner, Division Manager, would contact him shortly.

26. The following day, Mr. Turner terminated him over the phone.

27. At the time of his termination, Mr. Washington was 56 years old.

28. Upon information and belief, Mr. Washington was replaced by an individual under the age

   of 40.

29. On at least two (2) occasions in 2019, Mr. Stein referenced Mr. Washington’s age and

   asked if he was considering retirement.

30. During one of these incidents, Mr. Stein called Mr. Washington an “old man.”




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                                IV. CLAIM FOR RELIEF

                                         COUNT I

                                 FMLA RETALIATION

31. Plaintiff incorporates by reference paragraphs 1-30 of his Second Amended Complaint as

   if fully set forth herein.

32. Plaintiff was entitled to leave pursuant to 29 U.S.C.A. § 2612(a)(1)(C).

33. Plaintiff made Defendant aware that he required leave for a reason covered by the FMLA.

34. Plaintiff suffered the adverse action of termination.

35. The circumstances of Plaintiff's discharge raise a reasonable inference that Defendant

   terminated him for engaging in activity that Defendant knew or reasonably should have

   known was protected by the FMLA.

                                        COUNT II

                                ADEA DISCRIMINATION

36. Plaintiff incorporates by reference paragraphs 1-35 of his Second Amended Complaint as

   if fully set forth herein.

37. Plaintiff is over the age of 40 and thus a member of a protected class under the ADEA.

38. Plaintiff was qualified for the position he held with Defendant, and he met his employer’s

   legitimate expectations.

39. Plaintiff suffered the adverse action of termination.

40. The circumstances of Plaintiff’s discharge raise a reasonable inference of unlawful

   discrimination, including the fact that he was replaced by a substantially younger

   individual.




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                               PRAYER FOR RELIEF

   WHEREFORE, Plaintiff prays that this Honorable Court grant the following relief:

      a. Trial by jury;

      b. A finding that Defendant violated Plaintiff’s rights as set forth herein;

      c. Full back pay plus interest, front pay, liquidated damages, reasonable attorney fees,

          and costs in accordance with the FMLA and ADEA; and

      d. Any other relief this Court deems proper and just.

   Respectfully submitted this 16th of April, 2021.

                                        s/Regina Hollins Lewis
                                        Regina Hollins Lewis
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                                    JURY DEMAND

   Plaintiff requests a jury trial on all questions of fact raised by this Complaint.

   Respectfully submitted this 16th of April, 2021.

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                              EXHIBIT 1
